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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CASSAVA SCIENCES, INC.,
                                                     Civil Action No. 22-cv-9409
        Plaintiff,

 v.

 DAVID BREDT; GEOFFREY PITT;
 QUINTESSENTIAL CAPITAL
 MANAGEMENT LLC; ADRIAN HEILBUT;
 JESSE BRODKIN; ENEA MILIORIS; and
 PATRICK MARKEY,

        Defendants.



                            NOTICE OF SEPARATE FILING

       The attached exhibits accompany the First Amended Complaint (Dkt. #30) as

referenced in the Index of Exhibits (Dkt. #30-2). Due to technical difficulties with CM/ECF,

the exhibits accompanying the First Amended Complaint could not all be filed as attachments

to the First Amended Complaint. Accordingly, the exhibits are being filed in separate docket

entries as attachments to this Notice to ensure contemporaneous filing with the First Amended

Complaint.



Dated: Nov. 4, 2022

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